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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Delilah Parker, et al.
                                    Plaintiff,
v.                                                      Case No.: 1:20−cv−05574
                                                        Honorable Andrea R. Wood
Claire's Stores, Inc., et al.
                                    Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, November 6, 2020:


        MINUTE entry before the Honorable Andrea R. Wood: Telephonic status hearing
held on 11/6/2020. For the reasons stated on the record, this case is administratively
closed. Effective service in 1:20−cv−05574, Parker et al v. Claire's Stores, Inc. et al, will
be deemed effective service for 1:20−cv−05090, Rossi v. Claire's Stores, Inc. et al. Civil
case terminated. Mailed notice (dal, )




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